            IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF MISSOURI
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA,              No. 20-03041-CR-01/11-S-MDH

                         Plaintiff,    COUNT 1
     v.                                21 U.S.C. §§ 841(a)(1) and (b)(1)(A) and 846
                                       NLT 10 Years Imprisonment
(01) GREGORY D. ROBINSON,              NMT Life Imprisonment
[DOB: 04-14-1977],                     NMT $10,000,000 Fine
                                       NLT 5 Years Supervised Release
(03) CYNTHIA D. GOODRICH,              Class A Felony
[DOB: 09-20-1957],
                                       21 U.S.C. §§ 841(a)(1) and (b)(1)(C) and 846
(04) MUSTAFA K. EL-MIN a.k.a.          NMT 20 Years Imprisonment
ANTHONY L. ROBINSON,                   NMT $1 Million Fine
[DOB: 05-25-1970],                     NLT 3 Years Supervised Release
                                       Class C Felony
(05) APRIL D. WHITE,
[DOB: 04-27-1972],                     COUNT 2
                                       21 U.S.C. § 841(a)(1) and (b)(1)(A)
(06) DONALD K. MARKS,                  NLT 10 Years Imprisonment
[DOB: 01-24-1983],                     NMT Life Imprisonment
                                       NMT $10 Million Fine
(07) EVERETT D. COURTNEY,              NLT 5 Years Supervised Release
[DOB: 06-16-1972],                     Class A Felony

(08) RONALD J. BROOKS,                 21 U.S.C. § 841(a)(1) and (b)(1)(C)
[DOB: 10-04-1965],                     NMT 20 Years Imprisonment
                                       NMT $1 Million Fine
(09) HOWARD J. BOYD,                   NLT 3 Years Supervised Release
[DOB: 12-01-1962],                     Class C Felony

(10) JONATHAN C. MALLOW,               COUNTS 3, 7, and 13
[DOB: 12-25-1989],                     21 U.S.C. § 841(a)(1) and (b)(1)(C)
                                       NMT 20 Years Imprisonment
     and                               NMT $1 Million Fine
                                       NLT 3 Years Supervised Release
(11) ABBIE J. HENSLEY,                 Class C Felony
[DOB: 05-09-1987],
                                       COUNTS 4, 5, 6, 8, 10, and 18
                         Defendants.   21 U.S.C. § 841(a)(1) and (b)(1)(B)
                                       NLT 5 Years Imprisonment
                                       NMT 40 Years Imprisonment
                                       NMT $5,000,000 Fine
                                       NLT 4 Years Supervised Release
                                       Class B Felony

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 Defendants/Counts:                               COUNTS 11, 15, and 19
 (01) Robinson: 1, 4, 10-12, and FA               18 U.S.C. § 924(c)(1)(A)
 (03) Goodrich: 1, 2, and FA                      NLT 5 Years Imprisonment
 (04) El-Min: 1 and FA                            (Consecutive to All Counts)
 (05) White: 1, 14, and FA                        NMT Life Imprisonment
 (06) Marks: 1, 17-20, and FA                     NMT $250,000 Fine
 (07) Courtney: 1, 8, 9, and FA                   NMT 5 Years Supervised Release
 (08) Brooks: 1, 13, and FA                       Class A Felony
 (09) Boyd: 1, 5, 6, and FA
 (10) Mallow: 1, 3, 7, and FA                     COUNTS 9, 12, 16, 17, and 20
 (11) Hensley: 1, 15, 16, and FA                  18 U.S.C. §§ 922(g)(1), (3) and 924(a)(2)
                                                  NMT 10 Years Imprisonment
                                                  NMT $250,000 Fine
                                                  NMT 3 Years Supervised Release
                                                  Class C Felony

                                                  COUNT 14
                                                  21 U.S.C. § 841(a)(1) and (b)(1)(A)
                                                  NLT 10 Years Imprisonment
                                                  NMT Life Imprisonment
                                                  NMT $10 Million Fine
                                                  NLT 5 Years Supervised Release
                                                  Class A Felony

                                                  FORFEITURE ALLEGATION
                                                  21 U.S.C. § 853

                                                  $100 Special Assessment (Each Count)

                        SUPERSEDING INDICTMENT

       THE GRAND JURY CHARGES THAT:

                                         COUNT 1
           (Conspiracy to Distribute 500 Grams or More of a Mixture or Substance
      Containing a Detectable Amount of Methamphetamine and Any Amount of Heroin)
                    21 U.S.C. §§ 841(a)(1), (b)(1)(A), (b)(1)(C), and 846

       Beginning on an unknown date, but at least as early as April 10, 2019, and continuing to

on or about September 29, 2020, said dates being approximate, in Greene and Polk Counties, in

the Western District of Missouri, and elsewhere, the defendants, GREGORY D. ROBINSON,

CYNTHIA D. GOODRICH, MUSTAFA K. EL-MIN a.k.a. ANTHONY L. ROBINSON,

APRIL D. WHITE, DONALD K. MARKS, EVERETT D. COURTNEY, RONALD J.
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BROOKS, HOWARD J. BOYD, JONATHAN C. MALLOW, and ABBIE J. HENSLEY,

knowingly and intentionally conspired and agreed with each other and with others, known and

unknown to the Grand Jury, to distribute 500 grams or more of a mixture or substance containing

a detectable amount of methamphetamine, a Schedule II controlled substance, in violation of Title

21, United States Code, Section 841(a)(1) and (b)(1)(A); and any amount of a mixture or substance

containing a detectable amount of heroin, a Schedule I controlled substance, in violation of Title

21, United States Code, Section 841(a)(1) and (b)(1)(C); all in violation of Title 21, United States

Code, Section 846.

                                           COUNT 2
      (Possession with Intent to Distribute 500 Grams or More of a Mixture or Substance
    Containing a Detectable Amount of Methamphetamine and Any Amount of a Mixture or
                    Substance Containing a Detectable Amount of Heroin)
                        21 U.S.C. § 841(a)(1), (b)(1)(A), and (b)(1)(C)

       On or about June 12, 2019, in Greene County, in the Western District of Missouri, the

defendant, CYNTHIA D. GOODRICH, knowingly and intentionally possessed, with intent to

distribute, 500 grams or more of a mixture or substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Section 841(a)(1) and (b)(1)(A); and any amount of a mixture or substance containing a detectable

amount of heroin, a Schedule I controlled substance, in violation of Title 21, United States Code,

Section 841(a)(1) and (b)(1)(C).

                                           COUNT 3
          (Possession with Intent to Distribute Any Amount of a Mixture or Substance
                    Containing a Detectable Amount of Methamphetamine)
                              21 U.S.C. § 841(a)(1) and (b)(1)(C)

       On or about October 26, 2019, in Polk County, in the Western District of Missouri, the

defendant, JONATHAN C. MALLOW, knowingly and intentionally possessed, with intent to

distribute, any amount of a mixture or substance containing a detectable amount of

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methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Section 841(a)(1) and (b)(1)(C).

                                            COUNT 4
        (Possession with Intent to Distribute 50 Grams or More of a Mixture or Substance
                    Containing a Detectable Amount of Methamphetamine)
                              21 U.S.C. § 841(a)(1) and (b)(1)(B)

       On or about February 9, 2020, in Greene County, in the Western District of Missouri, the

defendant, GREGORY D. ROBINSON, knowingly and intentionally possessed, with intent to

distribute, 50 grams or more of a mixture or substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Section 841(a)(1) and (b)(1)(B).

                                            COUNT 5
        (Possession with Intent to Distribute 50 Grams or More of a Mixture or Substance
                    Containing a Detectable Amount of Methamphetamine)
                              21 U.S.C. § 841(a)(1) and (b)(1)(B)

       On or about February 11, 2020, in Polk County, in the Western District of Missouri, the

defendant, HOWARD J. BOYD, knowingly and intentionally possessed, with intent to distribute,

50 grams or more of a mixture or substance containing a detectable amount of methamphetamine,

a Schedule II controlled substance, in violation of Title 21, United States Code, Section 841(a)(1)

and (b)(1)(B).

                                            COUNT 6
        (Possession with Intent to Distribute 50 Grams or More of a Mixture or Substance
                    Containing a Detectable Amount of Methamphetamine)
                              21 U.S.C. § 841(a)(1) and (b)(1)(B)

       On or about February 25, 2020, in Greene County, in the Western District of Missouri, the

defendant, HOWARD J. BOYD, knowingly and intentionally possessed, with intent to distribute,

50 grams or more of a mixture or substance containing a detectable amount of methamphetamine,




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a Schedule II controlled substance, in violation of Title 21, United States Code, Section 841(a)(1)

and (b)(1)(B).

                                           COUNT 7
          (Possession with Intent to Distribute Any Amount of a Mixture or Substance
                    Containing a Detectable Amount of Methamphetamine)
                              21 U.S.C. § 841(a)(1) and (b)(1)(C)

       On or about February 25, 2020, in Greene County, in the Western District of Missouri, the

defendant, JONATHAN C. MALLOW, knowingly and intentionally possessed, with intent to

distribute, any amount of a mixture or substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Section 841(a)(1) and (b)(1)(C).

                                            COUNT 8
        (Possession with Intent to Distribute 50 Grams or More of a Mixture or Substance
                    Containing a Detectable Amount of Methamphetamine)
                              21 U.S.C. § 841(a)(1) and (b)(1)(B)

       On or about March 3, 2020, in Greene County, in the Western District of Missouri, the

defendant, EVERETT D. COURTNEY, knowingly and intentionally possessed, with intent to

distribute, 50 grams or more of a mixture or substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Section 841(a)(1) and (b)(1)(B).

                                           COUNT 9
                          (Possession of Firearm by Prohibited Person)
                          18 U.S.C. §§ 922(g)(1) and (3) and 924(a)(2)

       On or about March 3, 2020, in Greene County, in the Western District of Missouri, the

defendant, EVERETT D. COURTNEY, then knowing he had previously been convicted of a

crime punishable by imprisonment for a term exceeding one year, and then knowing he was an

unlawful user of a controlled substance, knowingly possessed a firearm, to wit, a Marlin brand,

model 60, .22 caliber semi-automatic rifle, bearing serial number 16330831, and ammunition, and
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the firearm and ammunition were in and affecting interstate commerce, all in violation of Title 18,

United States Code, Sections 922(g)(1) and (3) and 924(a)(2).

                                           COUNT 10
        (Possession with Intent to Distribute 50 Grams or More of a Mixture or Substance
                    Containing a Detectable Amount of Methamphetamine)
                              21 U.S.C. § 841(a)(1) and (b)(1)(B)

       On or about March 30, 2020, in Greene County, in the Western District of Missouri, the

defendant, GREGORY D. ROBINSON, knowingly and intentionally possessed, with intent to

distribute, 50 grams or more of a mixture or substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Section 841(a)(1) and (b)(1)(B).

                                           COUNT 11
                (Possession of Firearms in Furtherance of Drug Trafficking Crime)
                                     18 U.S.C. § 924(c)(1)(A)

       On or about March 30, 2020, in Greene County, in the Western District of Missouri, the

defendant, GREGORY D. ROBINSON, did knowingly possess firearms, to wit: (1) an FNH

brand, FNP-40 model, .40 caliber semi-automatic pistol, bearing serial number 61CMP11850; and

(2) a Sturm Ruger brand, P89 model, 9mm semi-automatic pistol, bearing serial number 314-

80742, in furtherance of drug trafficking crimes for which he may be prosecuted in a court of the

United States, that is, conspiracy to distribute 500 grams or more of a mixture or substance

containing a detectable amount of methamphetamine and any amount of a mixture or substance

containing a detectable amount of heroin, as alleged in Count 1, and possession with intent to

distribute 50 grams or more of a mixture or substance containing a detectable amount of

methamphetamine, as alleged in Count 10, in violation of Title 18, United States Code, Section

924(c)(1)(A).




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                                           COUNT 12
                          (Possession of Firearms by Prohibited Person)
                              18 U.S.C. §§ 922(g)(1) and 924(a)(2)

       On or about March 30, 2020, in Greene County, in the Western District of Missouri, the

defendant, GREGORY D. ROBINSON, then knowing he had previously been convicted of a

crime punishable by imprisonment for a term exceeding one year, knowingly possessed firearms,

to wit: (1) an FNH brand, FNP-40 model, .40 caliber semi-automatic pistol, bearing serial number

61CMP11850; and (2) a Sturm Ruger brand, P89 model, 9mm semi-automatic pistol, bearing serial

number 314-80742, and the firearms were in and affecting interstate commerce, all in violation of

Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

                                           COUNT 13
          (Possession with Intent to Distribute Any Amount of a Mixture or Substance
                    Containing a Detectable Amount of Methamphetamine)
                              21 U.S.C. § 841(a)(1) and (b)(1)(C)

       On or about June 2, 2020, in Greene County, in the Western District of Missouri, the

defendant, RONALD J. BROOKS, knowingly and intentionally possessed, with intent to

distribute, any amount of a mixture or substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Section 841(a)(1) and (b)(1)(C).

                                           COUNT 14
       (Possession with Intent to Distribute 500 Grams or More of a Mixture or Substance
                    Containing a Detectable Amount of Methamphetamine)
                              21 U.S.C. § 841(a)(1) and (b)(1)(A)

       On or about June 2, 2020, in Greene County, in the Western District of Missouri, the

defendant, APRIL D. WHITE, knowingly and intentionally possessed, with intent to distribute,

500 grams or more of a mixture or substance containing a detectable amount of methamphetamine,

a Schedule II controlled substance, in violation of Title 21, United States Code, Section 841(a)(1)

and (b)(1)(A).
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                                           COUNT 15
                (Possession of Firearm in Furtherance of Drug Trafficking Crime)
                                    18 U.S.C. § 924(c)(1)(A)

       On or about June 2, 2020, in Greene County, in the Western District of Missouri, the

defendant, ABBIE J. HENSLEY, did knowingly possess a firearm, to wit, a Heritage brand,

Rough Rider model, .22 caliber revolver, bearing serial number L02881, in furtherance of a drug

trafficking crime for which she may be prosecuted in a court of the United States, that is,

conspiracy to distribute 500 grams or more of a mixture or substance containing a detectable

amount of methamphetamine and any amount of a mixture or substance containing a detectable

amount of heroin, as alleged in Count 1, in violation of Title 18, United States Code, Section

924(c)(1)(A).

                                          COUNT 16
                          (Possession of Firearm by Prohibited Person)
                             18 U.S.C. §§ 922(g)(3) and 924(a)(2)

       On or about June 2, 2020, in Greene County, in the Western District of Missouri, the

defendant, ABBIE J. HENSLEY, then knowing she was an unlawful user of a controlled

substance, knowingly possessed a firearm, to wit, a Heritage brand, Rough Rider model, .22 caliber

revolver, bearing serial number L02881, and the firearm was in and affecting interstate commerce,

all in violation of Title 18, United States Code, Sections 922(g)(3) and 924(a)(2).

                                          COUNT 17
                          (Possession of Firearm by Prohibited Person)
                             18 U.S.C. §§ 922(g)(1) and 924(a)(2)

       On or about June 23, 2020, in Greene County, in the Western District of Missouri, the

defendant, DONALD K. MARKS, then knowing he had previously been convicted of a crime

punishable by imprisonment for a term exceeding one year, knowingly possessed a firearm, to wit,

a Taurus brand, PT 111 G2A model, 9mm semi-automatic pistol, bearing serial number



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TMU75851, and the firearm was in and affecting interstate commerce, all in violation of Title 18,

United States Code, Sections 922(g)(1) and 924(a)(2).

                                           COUNT 18
        (Possession with Intent to Distribute 50 Grams or More of a Mixture or Substance
                    Containing a Detectable Amount of Methamphetamine)
                              21 U.S.C. § 841(a)(1) and (b)(1)(B)

       On or about September 29, 2020, in Greene County, in the Western District of Missouri,

the defendant, DONALD K. MARKS, knowingly and intentionally possessed, with intent to

distribute, 50 grams or more of a mixture or substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of Title 21, United States Code,

Section 841(a)(1) and (b)(1)(B).

                                          COUNT 19
               (Possession of Firearms in Furtherance of Drug Trafficking Crime)
                                    18 U.S.C. § 924(c)(1)(A)

       On or about September 29, 2020, in Greene County, in the Western District of Missouri,

the defendant, DONALD K. MARKS, did knowingly possess firearms, to wit: (1) a Polymer 80

brand, PF940C model, 9mm semi-automatic pistol, Privately Made Firearm (PMF) manufactured

without a serial number; and (2) a Raven Arms brand, MP-25 model, .25 caliber semi-automatic

pistol, bearing serial number 1756540, in furtherance of drug trafficking crimes for which he may

be prosecuted in a court of the United States, that is, conspiracy to distribute 500 grams or more

of a mixture or substance containing a detectable amount of methamphetamine and any amount of

a mixture or substance containing a detectable amount of heroin, as alleged in Count 1, and

possession with intent to distribute 50 grams or more of a mixture or substance containing a

detectable amount of methamphetamine, as alleged in Count 18, in violation of Title 18, United

States Code, Section 924(c)(1)(A).




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                                           COUNT 20
                           (Possession of Firearm by Prohibited Person)
                              18 U.S.C. §§ 922(g)(1) and 924(a)(2)

       On or about September 29, 2020, in Greene County, in the Western District of Missouri,

the defendant, DONALD K. MARKS, then knowing he had previously been convicted of a crime

punishable by imprisonment for a term exceeding one year, knowingly possessed a firearm, to wit,

a Raven Arms brand, MP-25 model, .25 caliber semi-automatic pistol, bearing serial number

1756540, and the firearm was in and affecting interstate commerce, all in violation of Title 18,

United States Code, Sections 922(g)(1) and 924(a)(2).

                                 FORFEITURE ALLEGATION

       The allegations contained in Count 1 above are hereby incorporated as though fully set

forth herein for the purpose of charging criminal forfeiture to the United States of America

pursuant to Title 21, United States Code, Section 853.

       As a result of committing the controlled substance offense alleged in Count 1 of this

Indictment, GREGORY D. ROBINSON, CYNTHIA D. GOODRICH, MUSTAFA K. EL-

MIN a.k.a. ANTHONY L. ROBINSON, DONALD K. MARKS, APRIL D. WHITE,

EVERETT D. COURTNEY, RONALD J. BROOKS, HOWARD J. BOYD, JONATHAN C.

MALLOW, and ABBIE J. HENSLEY shall forfeit to the United States, pursuant to Title 21,

United States Code, Section 853, any and all property constituting, or derived from any proceeds

obtained directly or indirectly, as a result of the said violations, and any property used, or intended

to be used, in any manner or part, to commit, or to facilitate the commission of the said violations,

including but not limited to. a forfeiture money judgment representing proceeds the defendants

personally obtained, directly and indirectly, as a result of their participation in the drug conspiracy

alleged in Count 1.



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                                     SUBSTITUTE ASSETS

       If any of the property described above, as a result of any act or omission of the defendants:

               a.      cannot be located upon the exercise of due diligence;

               b.      has been transferred or sold to, or deposited with, a third party;

               c.      has been placed beyond the jurisdiction of the Court;

               d.      has been substantially diminished in value; or

               e.      has been commingled with other property which cannot be divided without

               difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title

21, United States Code, Section 853(p).

                                              A TRUE BILL


                                              /s/ Kevin Elliott
                                              ____________________________________
                                              FOREPERSON OF THE GRAND JURY


/s/ Jessica Sarff
______________________________
JESSICA R. SARFF
Assistant United States Attorney

DATED: 01/19/2021
       Springfield, Missouri




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